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        EXHIBIT $
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                                    Schedule 1

                                                                          Interest
                                                             Principal
                                                                          Payment
No.     Issue          ISIN       Date Due         FAA      Beneficially
                                                                            Dates
                                                              Held ($)
                                                                         (Annually)
         7.75%                                                            Apr. 13;
1                  USP97475AN08   10/13/2019     2001 FAA   54,565,600
      2019 Bonds                                                           Oct. 13
         6.00%                                                             June 9;
2                  USP97475AG56   12/09/2020     2001 FAA    5,704,500
      2020 Bonds                                                            Dec. 9
        12.75%                                                            Feb. 23;
3                  USP17625AC16   08/23/2022     2001 FAA    3,043,000
      2022 Bonds                                                           Aug. 23
         9.00%                                                             May 7;
4                  USP17625AA59   05/07/2023     2001 FAA   14,023,000
      2023 Bonds                                                            Nov. 7
         8.25%                                                            Apr. 13;
5                  USP97475AP55   10/13/2024     2001 FAA    1,751,900
      2024 Bonds                                                           Oct. 13
         7.65%                                                            Apr. 21;
6                  XS0217249126   04/21/2025     2001 FAA    1,212,000
      2025 Bonds                                                           Oct. 21
        11.75%                                                            Apr. 21;
7                  USP17625AE71   10/21/2026     2001 FAA    8,917,000
      2026 Bonds                                                           Oct. 21
         9.25%                                                            March 15;
8                  US922646AS37   9/15/2027      1997 FAA    4,538,000
      2027 Bonds                                                          Sept. 15
         9.25%                                                             May 7;
9                  USP17625AB33   05/07/2028     2001 FAA    6,485,000
      2028 Bonds                                                            Nov. 7
        11.95%                                                             Feb. 5;
10                 USP17625AD98   08/05/2031     2001 FAA    6,842,000
      2031 Bonds                                                            Aug. 5
        9.375%                                                             Jan. 13;
11                 US922646BL74   01/13/2034     1998 FAA    1,171,500
      2034 Bonds                                                           June 13
         7.00%                                                            March 31;
12                 USP97475AJ95   03/31/2038     2001 FAA     422,000
      2038 Bonds                                                          Sept. 30
